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                             UNITED STATES DISTRICT COURT
10
                CENTRAL DISTRICT OF CALIFORNIA-WESTERN DIVISION
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12
   VERNON CASTLE BROWN, JR.,               ) Case No. CV 21-09152-CAS (AS)
13 III,                                    )
                                           ) ORDER OF DISMISSAL
14                     Petitioner,         )
                                           )
15                                         )
           v.                              )
16                                         )
     JEFF LYNCH, Warden,                   )
17                                         )
                       Respondent.         )
18                                         )
19
20                                   I.   BACKGROUND
21
22         On    November      22,    2021,     Vernon      Castle   Brown,      Jr.
23 (“Petitioner”), a California state prisoner proceeding pro se,
24 filed a “Petition for Writ of Habeas Corpus,” (Dkt. No. 1), which
25 the Court construes as a Petition for Writ of Habeas Corpus by a
26 Person       in   State     Custody    pursuant     to   28   U.S.C.      §   2254
27
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 1 (“Petition”).1
 2
 3         The Petition does not state what Petitioner is challenging,
 4 i.e., a conviction, sentence, etc.           (See Petition at 2).        The
 5 Petition does not contain any information or assert any claims.
 6 (See Petition at 2-6).         Simply listing cases or referring to an
 7 unattached declaration (see Petition at 3) is not an assertion of
 8 clear and cognizable claims.
 9
10         A Petition for Writ of Habeas Corpus can only be filed by a
11 petitioner who is in state custody and contends that such custody
12 is in violation of the Constitution, laws or treaties of the
13 United States.      28 U.S.C. § 2254(c).     Here, Petitioner has failed
14 to allege any claim(s), much less any claims which go to the fact
15 or duration of his confinement.            See Preiser v. Rodriguez, 411
16 U.S. 475, 489 (1973).
17
18         Because Petitioner does not state a claim for relief under
19 28 U.S.C. § 2254, dismissal of the Petition is warranted.
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21 //
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               Petitioner has filed numerous habeas petitions in this
28   Court which have been dismissed.

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